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                        IN THE UNITED STATES DISTRICT COURT

             IN AND FOR THE DISTRICT OF UTAH, NORTHERN DIVISION


   AMERICA WEST BANK MEMBERS,                             REPLY IN SUPPORT OF
                                                        DEFENDANTS’ MOTION FOR
                                Plaintiff,                SUMMARY JUDGMENT

   v.                                                   Case No: 2:16-cv-00326-CW-DAO

   THE STATE OF UTAH, DEPT. OF                                Judge Clark Waddoups
   FINANCIAL INS., G. EDWARD LEARY,
                                                        Magistrate Judge Daphne A. Oberg
                             Defendants.


         Pursuant to Federal Rule of Civil Procedure 56 and DUCivR 7-1 and 56-1, the State of

  Utah, the Utah Department of Financial Institutions (“UDFI”), and G. Edward Leary

  (collectively “Defendants”), by and through counsel Stephen W. Geary, Assistant Utah Solicitor

  General, and Christine Hashimoto, Assistant Utah Attorney General, hereby submit their reply in

  support of Defendants’ Motion for Summary Judgment (Doc. 280).
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                                          INTRODUCTION

           AWBM’s prolix Opposition – more than twice the length of the Motion – is “a tale . . . full

  of sound and fury, signifying nothing.” 1 The evidentiary support offered for the grand conspiracy

  claims of the Second Amended Complaint is trivial and contrived. Viewed in the light most

  favorable to Plaintiff, it amounts to no more than this: (1) the parties disagreed over the valuation

  of America West Bank’s (“Bank”) loan portfolio – particularly, the Allowance for Loan and Lease

  Losses (“ALLL”); and (2) in the wake of the 2008 ROE that downgraded the Bank, Commissioner

  Leary opined that the Bank President “deserves the treatment.”

           AWBM cannot refute the Bank’s own financial records, showing the Bank was critically

  undercapitalized, a status requiring receivership under the federal Prompt Corrective Action

  statute. AWBM cannot refute the testimony of its own external auditor – whom AWBM identifies

  as an expert on this very topic – that working independently of the state and federal bank

  examiners, he likewise concluded the Bank was insolvent. AWBM cannot refute the multiple

  other, independent grounds for receivership presented in the state court proceeding. AWBM

  presents no evidence that Commissioner Leary misled the state court.

           This was not a close case. According to their own expert, Plaintiff’s Bank pursued a high-

  risk strategy that was crippled by the Great Recession. The deterioration in the Bank’s loan

  portfolio was a result of that downturn, not the consequence of regulatory actions. Considering

  this Bank’s extreme concentration in high-risk construction and land development loans, it would

  have been miraculous had the Bank not experienced severe financial difficulty in the recession.

  The Bank’s failure was not the result of any regulatory overreach but the natural consequence of

  their own business strategy, a bitter truth that AWBM and the Bank’s principals are still unable to

  swallow.


  1
      Wm. Shakespeare, Macbeth, act 5, sc.5 ls. 25-27.


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                                        MATERIAL FACTS

         As an initial matter, AWBM’s Appendix skips numbers 20, 26, 28, 29, 68, 77, and 99, and

  exhibits 19, 23, 24, 25, 30, 36, and 43, while included in the Appendix, are nowhere referenced or

  relied upon in the Opposition. For this reason, Defendants will not address them in this Reply, and

  Defendants object to their use in any decision upon the Motion.

         The following facts are either expressly not disputed by AWBM or the “disputes” asserted

  by AWBM are not material: Fact nos. 1-4, 6-7, 16-17, 30, 35, 48-49, 63-65, 67-68. For example,

  AWBM “dispute[s] in part” Fact no. 4 on the ground that the Bank was formed in 2000, while

  AWBM was organized in 2005. While AWBM submits no evidence in support of its assertions,

  even if true, that evidence would not change any issue in the summary judgment motion, and

  AWBM nowhere argues that it would. In fact, AWBM frequently submits no evidence in support

  of these contentions, so its Opposition is deficient on this ground. See, e.g., Doc. 326 at 4-5 (no

  evidentiary citations in response to Fact nos. 6-7). Similarly, while AWBM seeks to argue the

  reasons for its high concentration of construction and development loans, Plaintiff presents no

  evidence to rebut that concentration, nor how that concentration far exceeded the Bank’s peers.

  See Doc. 326 at 22 (response to Fact nos. 16-17). Gary Stoley, Plaintiff’s own banking expert,

  readily acknowledged the Bank followed a “high-risk operating plan” with “very high

  concentration of acquisition and development and construction loans,” and its concentrations

  considerably exceeded the regulatory guidance on such lending. See Doc. 280-46 at 13 (lines

  39:15-40:24). “[O]nly material factual disputes preclude summary judgment; factual disputes

  about immaterial items are irrelevant.” Hall v. Bellmon, 935 F.2d 1106, 1111 (10th Cir. 1991).




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         Admissibility of the Material Loss Review (“MLR”): Where relied upon, AWBM

  objects to the Material Loss Review. See, e.g., Doc. 326 at 4-22 (Fact nos. 5-6, 8-17). As noted in

  the Motion, the MLR is admissible under Rule 803(8) as a public record containing factual findings

  from a legally authorized investigation. See Doc. 280 at 19; Fed. R. Evid. 803(8). AWBM, itself,

  relies upon the MLR in the complaint. See Doc. 33 at 5. As have other courts in litigation

  concerning the insolvency of the Bank. See Summerhaze Co., L.C. v. FDIC, 2014 UT 28, ¶ 5 n.4,

  332 P.3d 908 (noting the $119 million loss found by the MLR). AWBM attacks the trustworthiness

  of the MLR (see Fed. R. Evid. 803(C)(8)(B)), but that attack is unavailing.

         First, AWBM argues that the MLR is untrustworthy because it is prepared by the FDIC

  Inspector General, and the FDIC was allegedly complicit in the plan to take down the Bank. See

  Doc. 326 at 5. AWBM presents no evidence of any such conspiracy, much less any involvement

  by the Inspector General in any such conspiracy. 2 The OIG is “an independent organizational unit

  established under the Inspector General Act of 1978, as amended, that conducts audits, evaluations,

  investigations, and other reviews of FDIC programs and operations. The OIG’s mission is to

  promote the economy, efficiency, and effectiveness of FDIC programs and operations, and to

  prevent, deter, and detect waste, fraud, abuse, and misconduct in FDIC programs and operations.” 3

  The very purpose of the OIG is, among other things, to investigate whether any misconduct by the

  FDIC has occurred. Its independent under federal law rebuts AWBM’s unsubstantiated insinuation

  that the OIG is part of the grand conspiracy.



  2 AWBM seems oblivious to the role of an Inspector General, as exhibited by its uninformed
  analogy of a police department investigating the misconduct of its own officers. See Doc. 326 at
  5-6. This is exactly the role of an internal affairs investigation. See, e.g., Beach v. City of Olathe,
  203 F.R.D. 489, 493 (D. Kan. 2001) (discussing police department internal affairs investigation of
  officers). The Office of the Inspector General (“OIG”) is tantamount to an internal affairs
  department, tasked with investigating its subject agency.
  3
    https://www.fdic.gov/about/strategic-plans/strategic/inspectorgeneral.html (last visited August
  30, 2022).


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          Second, Plaintiff challenges the timeliness of the Material Loss Review investigation on

   the ground that it was six months after the May 1, 2009, appointment of the FDIC as receiver. Doc.

   326 at 7. But AWBM misapprehends the relevant time period. At the relevant time, a Material

   Loss Review was not mandated unless losses on a bank exceeded $25 million. See Doc. 280 at 19.

   It is not the date of receivership that starts the clock but when the FDIC has concluded the

   liquidation and can tally the loss. In that regard, six months from the date of receivership to allow

   for liquidation of the Bank’s assets and the preparation of a report is timely. AWBM presents no

   contrary evidence.

          Third, Plaintiff argues motivation issues because drafts of the report were provided to the

   FDIC and others, but AWBM overlooks the fact that this process is required by statute. See Doc.

   280 at 19; 12 U.S.C. § 1831o(k). It in no way calls into question the trustworthiness of the report.

          Other arguments by AWBM contain their own rebuttal. While Plaintiff argues that “the

   OIG Report relies entirely on the FDIC’s data, which it did not verify was accurate or truthful,”

   the very quote from the Material Loss Review used to support this contention contradicts it: “We

   relied on our analysis of information from various sources, including ROEs, correspondence files,

   and testimonial evidence to corroborate data obtained from [FDIC] systems that were used to

   support our audit conclusions.” Doc. 326 at 8 (emphasis added). The Motion cites conclusions in

   the MLR that rest on information ultimately drawn from AWBM and/or its Bank, supplied in call

   reports. See Fact nos. 4-6, 8, 10, 12, 14-17. It is telling that, throughout, AWBM fails to present

   evidence contradicting the MLR.




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          Regarding trustworthiness, AWBM’s final argument is the assertion by its banking expert

   Stoley that the MLR “missed the mark” by not concluding that the ROEs had been improperly

   done. Doc. 326 at 8-9. This is a non sequitur. Stoley concedes there is no indication that the MLR

   performed any validation of the loan ratings or allowance for loan and lease losses (“ALLL”). Id.

   Stoley offers no support for the implication that the MLR needed to do so. Loan ratings and the

   ALLL are both forward-looking estimates of the likely performance of a loan and loan portfolio.

   See Doc. 280 at 13 (discussing ALLL, “an estimate of the amount of a bank’s gross loan portfolio

   that it will never collect”). After a liquidation, the OIG is making a backward-looking summary of

   what was actually realized.

          Plaintiff asserts additional evidentiary objections that are quickly dismissed. See Doc. 326

   at 5, 25. Rule of Evidence 602, requiring personal knowledge, is applicable to witness testimony,

   not to documents. The requirements for admissibility of a public record are expressly set out in

   Rule 803(8), and Rule 602 has no application here. For the same reason, the reports are not

   inadmissible “expert testimony” under Rules 701 and 702. One expects that government

   employees making “factual findings from a legally authorized investigation” (Fed. R. Evid.

   803(8)(A)(iii)) are applying their relevant expertise. That is exactly what should make a public

   record pertinent and admissible in evidence. Plaintiff’s contention that the reports are opinion on

   the ultimate issue (Rule 704) is not apt. The “ultimate issue” in this litigation is whether Defendants

   violated any of AWBM’s asserted constitutional rights. The MLR is evidence that Defendants did

   not do so, as it rebuts Plaintiff’s claim that their Bank was in a safe and sound condition, but it

   expresses no opinion on the constitutional claims, themselves.




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          Admissibility of the Reports of Examination (“ROEs”): Likewise, Plaintiff objects to

   the ROEs. See id. at 25-32, 34-44 (Fact nos.25-29, 37-44). These too are admissible as public

   records. See Fed. R. Evid. 803(8); Farmers & Merchants Nat. Bank v. Bryan, 902 F.2d 1520, 1523-

   24 (10th Cir. 1990) (“Defendants claim that the trial court erred in admitting the above-mentioned

   examination reports. We do not agree. . . . The reports, including the various conclusions critical

   of defendants’ actions contained therein, were admissible under Rule 803(8)(C) of the Federal

   Rules of Evidence, the ‘public records’ exception to the hearsay rule.”).

          As to the ROEs, AWBM argues they should not be admissible because AWBM has not

   received all the underlying work papers. Doc. 326 at 24. There is no such production requirement

   for a public record. See Fed. R. Evid. 803(8). Without explicitly referencing the rule, Plaintiff is

   relying upon the requirements of Rule 1006 for summaries of voluminous writings, records, and

   other documents. See Fed. R. Evid. 1006. But an ROE is not such a summary. The report itself is

   the final product, the conclusion of a legally authorized investigation. See Fed. R. Evid.

   803(8)(A)(iii). Further, as discussed in the Motion and infra, while the conclusions of the ROEs

   may be “hotly disputed” (Doc. 326 at 26), the time to raise any challenge to the ROEs expired well

   over a decade ago, before even AWBM’s initial complaint. See Doc. 280 at 40-43; infra at Section

   III. Plaintiff is foreclosed from pursuing that challenge now.

          AWBM’s “hearsay within hearsay” objection is similarly unavailing. See Doc. 326 at 5.

   As with the MLR, Plaintiff nowhere identifies what statements within the ROEs they contend are

   hearsay within hearsay. The ROE relies upon the Bank’s own documents, which are not hearsay

   under Rule 801(d)(2); the factual findings of the Report are not hearsay-within-hearsay, and are

   admissible under Rule 803(8)). See, e.g., Doc. 280 at 23, 25-26 (Fact nos. 25-29, 38-44). AWBM’s

   other objections, under Rules 602, 701, 702, and 704 have no more merit here than they did in

   objection to the MLR. Defendants incorporate their preceding response in that regard.



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           Remaining facts: Defendants respond on the remaining facts as follows:

           Fact no. 5: AWBM contends that Commissioner Leary “specifically instructed [Mr.

   Durbano] to leave his law practice and office and immediately take over duties of [the Bank’s

   President and CFO] and to oversee management of the Bank.” Doc. 326 at 5. While AWBM’s

   assertion is disputed, 4 more to the point, it does not rebut any portion of Fact no. 5.

           Fact nos. 8-12: Other than the objection to the MLR, AWBM’s response to these facts

   consist of multiple assertions, many without evidentiary citations, that do not refute the facts. To

   reiterate, the bottom line, acknowledged by Plaintiff’s own banking expert, is that the Bank

   followed a “high-risk operating plan” with “very high concentration of acquisition and

   development and construction loans,” and its concentrations considerably exceeded the regulatory

   guidance on such lending. See Doc. 280-46 at 13 (lines 39:15-40:24).

           Fact no. 13: Plaintiff’s response to this fact is inapposite, as the fact stated is a matter of

   statute, which Plaintiff cannot refute. 5




   4
     The Commissioner testified that the management changes at the Bank, though approved by
   UDFI, were “red flags,” and it was concerning that Durbano would become President of the Bank.
   See Doc. 332-52 at 12-13 (lines 38:1-11, 42:23-44:23).
   5
     AWBM also protests that Prompt Corrective Action (the statute in question) “makes no reference
   to brokered deposits.” Doc. 326 at 18. What the statute expressly references in 12 U.S.C. §
   1831o(f)(2)(C) is a limitation on paying interest rates “to the prevailing rates
   of interest on deposits of comparable amounts and maturities in the region where the
   institution is located.” Brokered deposits are “accounts picked up from brokers, typically with no
   relation to the community of the bank. The brokers search (often nationwide) for the best interest
   earnings they can achieve. A bank typically must pay a higher interest rate on its brokered
   deposits, and they are more volatile than core deposits because they have no community
   investment and always seek higher returns.” Doc. 280 at 14; Doc. 280-9 at 28 (lines 98:15-99: 1);
   Doc. 280-10 at 16-17 (lines 52:13-54:20). The statute does not need to expressly name brokered
   deposits. Brokered deposits are clearly within the scope of the statute, as the MLR recognized.


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          Fact no. 14: Other than the objection to the MLR, AWBM in no way disputes the rise in

   its brokered deposits and the fact it was in the 99th percentile of its peer group.

          Fact no. 15: Plaintiff fails to refute this fact, which refers to ADC and CRE concentrations,

   that is, the percentage of these loans in relation to the overall portfolio. The Haws memo – the only

   evidence cited in response – does not reference concentrations at all but rather a modest (less than

   7%) decrease in overall portfolio value. See Doc. 332-34 at 1. Stoley, Plaintiff’s own banking

   expert, readily acknowledged the Bank followed a “high-risk operating plan” with “very high

   concentration of acquisition and development and construction loans,” and its concentrations

   considerably exceeded the regulatory guidance on such lending. See Doc. 280-46 at 13 (lines

   39:15-40:24).

          Fact nos. 18-24: Plaintiff fails to submit any evidence to dispute these facts, which come

   from its own economic expert’s report. As the statements of Plaintiff’s designated expert, the

   contents of the Waters Report constitute party admissions of AWBM. See Rawers v. United States,

   488 F.Supp.3d 1059, 1084 n.29 (D.N.M. 2020) (“When a party introduces its opponent’s expert

   report, however, courts have found this evidence admissible as non-hearsay under Rule 801(d)(2)

   of the Federal Rules of Evidence.”) (citing multiple cases). Equally unsupported is AWBM’s claim

   in response to Fact no. 19 that the Waters Report does not state that real estate values would

   continue to decline until the first quarter of 2010. This is exactly the information relayed by the

   graph on page 7 of that report. See 280-18 at 9. The graph illustrates the change over time in

   residential housing prices in both the U.S. and Utah.




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           Fact nos. 25-29: These facts are drawn directly from the 2008 ROE, which AWBM never

   formally challenged and for which challenge is now foreclosed. See supra at 9-10 and infra at

   Section III.

           Fact nos. 31-34: Plaintiff submits no relevant evidence to dispute these facts. Moreover,

   the Cease and Desist Orders, signed by the Board of the Bank, speak for themselves as to the rights

   the Bank expressly waived. It is telling that, while at this very late stage AWBM argues

   vociferously about all the flaws in the 2008 ROE, the Bank had the opportunity to assert those

   failings in an administrative proceeding, as expressly noted in the stipulation, and they waived that

   right. See Doc. 280-23 at 2 (“Bank has been advised of its right to receive an Order to Cease and

   Desist detailing the unsafe and unsound practices and of its right to a hearing on the Order to

   Cease and Desist, and has waived those rights.”) (emphasis added). AWBM fails to make any

   claim in this litigation and fails to substantiate any argument in opposition to this Motion that they

   should be relieved of the effects of the Cease and Desist Orders.

           Fact no. 36: Plaintiff objects on the grounds of relevance and confusion of issues, neither

   of which are relevant objections on a summary judgment motion. Those rules concern evidence

   presented to a jury, not to the Court. Plaintiff further objects on the basis of legal conclusions, but

   no legal conclusions are asserted in this fact.

           Fact nos. 37-43: These facts are drawn directly from the 2009 ROE, which AWBM never

   formally challenged and for which challenge is now foreclosed. See infra at Section III. Plaintiff

   relies principally on the criticisms made of the ROE in the Stoley Report, but that argument misses

   the boat. The narrow question before this Court is whether Defendants procured the judicial order

   approving possession of the Bank through fraud. See Doc. 64 at 24 (“[T]he court is not barred from

   considering the Bank’s claim of injury related to the Order itself, because the Bank has alleged


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   that it was obtained through fraud.”). The alleged failings of the 2009 ROE claimed by the Stoley

   Report is that the available examiners’ work papers did not adequately support the ALLL

   calculations. See, e.g., Doc. 332-4 at 6 (claiming ROE ALLL calculation is “not supported . . . by

   examination work papers”). That is a contention that goes to the weight the 2009 ROE should have

   been given by the state court. It does not evidence a misrepresentation. Stoley acknowledges the

   Bank had “significant asset quality deterioration,” and that this was not caused in any way by

   Defendants. Id. at 13 (lines 38:5-39:9). For the time period covered by the 2009 ROE, Stoley

   conceded that the Bank should have been “significantly higher capitalized” for the high-risk

   business strategy it was following. Id. (lines 43:20-45:2). In fact, Stoley concedes that, while he

   disputes whether the Bank was “insolvent,” he offers no opinion about whether the Bank was

   “about to become insolvent.” Id. at 17 (lines 55:8-22). Stoley admits that, even using his more

   favorable capitalization level, at the Bank’s current rate of loss, it would have been critically

   undercapitalized within 15 days of March 31st, well before the May 1st receivership date. Id. at 19-

   20 (lines 65:3-68:18).

           Fact no. 44: This fact, detailing additional grounds found in the 2009 ROE for

   receivership, while heatedly argued by Plaintiff, is not refuted. Plaintiff cites no evidence that the

   Bank was in a safe and sound condition. To the contrary, Plaintiff’s own expert admits it was not.

   See Doc. 280-46 at 12 (lines 36:14-24). No evidence the Bank had a 10% or better Tier 1 capital

   ratio. No evidence of an adequate strategic plan. No evidence they had corrected violations

   identified in the 2008 ROE. No evidence of an acceptable plan limiting payments between the

   Bank and AWBM. No evidence they had not made dividend payments in violation of the Cease

   and Desist Orders.

           Fact no. 45: Plaintiff’s response to this fact is addressed in the Argument, below. See infra

   at Section III.



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          Fact nos. 46-47: Plaintiff objects to the relevance of Mr. Sheehan’s testimony on loan

   calculations made by the bank examiners and to contest the foundation of the Bank’s own internal

   documents discussing its troubled loans. See Doc. 326 at 46-48. Sheehan’s qualifications are

   beyond dispute. He was the head of the Bank’s Special Workout Team managing troubled loans –

   the very loans whose deterioration ultimately rendered the Bank insolvent. In his work, Sheehan

   was necessarily familiar with the loans, and interacting with examiners in the 2009 examination,

   he was likewise familiar with the examiner’s valuations of those loans. It is significant and

   damning to Plaintiff’s position that Sheehan testified unambiguously that in retrospect, he has

   concluded the examiners’ position – not the Bank’s – was correct.

          As for the meeting minutes, these are the internal documents of the Bank – party admissions

   under Rule 801. Sheehan is expressly identified as an attendee, and he acknowledged he was

   presented with these minutes while employed with the Bank in 2009 and verified his attendance

   at the meeting. See Doc. 280-45 at 1; Doc. 280-28 at 21 (lines 72:22-73:22).

          Fact nos. 50-56: AWBM’s challenges and objections to the draft Audit Report and the

   testimony of the Bank’s external auditor Richard McRae are unavailing and borders upon the

   absurd. AWBM expressly identified McRae as an expert “expected to testify regarding the Bank’s

   accounting practices and their compliance with GAAP and the Bank’s financial condition at the

   time of seizure.” See Plaintiff’s Rule 26(a)(2) Disclosure of Expert Witnesses at 12, attached as

   Supp. Appx. 49. McRae testified that the only reason the Audit Report was not finalized was the

   Bank’s refusal to provide the representations letter that the Bank’s representations to the auditors

   was accurate and truthful. See Doc. 280-30 at 8-9 (lines 20:23-23:14). Further, to the extent the

   Audit Report and McRae’s testimony relied upon other documents, these are documents of the

   Bank – party admissions – not excluded by the hearsay rule.




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          AWBM also attempts to challenge these facts with the declaration of Brent Wilde, asserting

   that McRae and Simpson & Company were biased. See Doc. 326 at 50; Doc. 326-98 at 2. The

   Wilde declaration, seeking to testify about McRae and Simpson & Company, lacks foundation and

   is, in fact, directly contradicted by McRae’s deposition testimony, wherein McRae testifies that he

   and Simpson & Company have no contact with the bank examiners and perform their work and

   reach their conclusions entirely independently. See Doc. 280-30 at 13 (lines 40:15-41:8). In fact,

   this is the strength of the process, according to McRae, “It’s like two people coming to an answer

   independently and not referring to each other to make that decision. I think that’s a healthy thing.”

   Id. (lines 40:25-41:2). AWBM had the opportunity to depose McRae about bias but declined to

   ask him any questions at all. See Doc. 280-30 at 18 (line 59:21). Wilde’s claim of Simpson &

   Company deferring to UDFI or the FDIC is incredible on its face, as neither of these institutions

   has any regulatory control over auditors or CPAs. Defendants object to consideration of the Wilde

   Declaration for any purpose. On its face, it lacks foundation and consists solely of speculation.

          Fact nos. 57-59: AWBM’s attempt to contest the Bank’s own financial records is

   unavailing. Plaintiff nowhere disputes that these are the Bank’s own, internal financial records, on

   which the Bank itself relied. The reference to Stoley’s report and opinions is inapposite. Stoley

   has no foundation for challenging the Bank’s financial statements, as he admits the Bank had

   access to loan documents and other information necessary to that analysis, which Stoley did not

   have. See Doc. 280-46 at 21-22 (lines 72:4-75:9).

          Fact nos. 60-62: Nothing Plaintiff says can refute the plain language of the Petition.

   Neither are any of Plaintiff’s evidentiary objections valid. Defendants’ declarations are not

   testifying as to the contents of any transcript of the proceeding but are declarations of their

   individual, percipient observations and conduct as participants in that proceeding.



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          Fact no. 66: Plaintiff seeks to spin Durbano’s testimony in a way to excuse AWBM’s

   failure to act, but it does not change the essential point: Plaintiff made no challenge to the

   receivership proceeding, and the decision to refrain rested upon the advice of counsel that any such

   challenge would run afoul of Rule 11.

          Fact no. 69: Plaintiff’s only dispute is that it filed a Notice of Claim almost one year after

   the receivership. A notice of claim, however, is not a legal action. This fact is undisputed.

          Fact no. 70: Nothing in Plaintiff’s response refutes this fact. 6 Plaintiff falsely states that

   Cache Valley Bank expected to realize “over $300,000 profit” from purchasing a loan from the

   FDIC-as-Receiver several months after the receivership. Doc. 326 at 65 (“When CVB purchased

   some of the Bank’s loans from the FDIC on October 23, 2009, it expected to realize over $300,000

   in profit.”). The relevant deposition testimony is unrelated to the loan purchase. Rather, George

   Daines, President of Cache Valley Bank, testifies about his expectation of realizing a benefit from

   assuming the Layton location of America West Bank. See Doc. 332-18 at 2 (lines 186:6-16).

   Durbano’s own proffered testimony is self-serving hearsay that Daines never adopted. Defendants

   object to the Durbano testimony on that ground.

          Fact no. 71: AWBM attempts to dispute the degree of the FDIC insurance fund loss on the

   Bank by reference to the online Receivership Balance Sheet Summary. That summary notes a net

   deficit of $115,494,000, which in the context of this litigation is not materially different from the

   $119 million estimate of the Material Loss Report. The summary, contrary to AWBM’s assertion,

   does not attribute the deficit to a “reserve . . . for unpaid deposit claims.” Doc. 326 at 64. Rather,


   6
     Furthermore, the cited Doug Durbano testimony is hearsay, as he attempts to testify about
   statements of George Daines. Plaintiff had the opportunity to depose Daines and failed to
   corroborate any such statements.


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   it states that the FDIC has a “Subrogated Deposit Claim,” in the amount of $115,386.000, and

   under federal law the FDIC’s deposit subrogation rights arise upon “the assumption of any deposit

   . . . by another insured depository institution,” in this instance Cache Valley Bank. 12 U.S.C. §

   1821(g)(1). The FDIC’s losses arose, in short, not from any “reserve,” but from the Deposit

   Insurance Fund’s $115 million payment to Cache Valley Bank (the only entity that bid on the

   bank) in exchange for that bank’s assumption of deposits at America West.

          Response to AWBM’s Additional Facts: Most of AWBM’s asserted facts merit no

   substantive response. While Defendants question their veracity and, more importantly, their

   significance, for purposes of this Motion, Defendants do not dispute them except as follows:

          AWBM Fact no. 19: AWBM seeks to characterize the Berrett email as “tr[ying] to prime

   the Federal Reserve to respond negatively.” Doc. 326 at 70. This is not an assertion of fact, nor is

   it evidenced in the document. It is AWBM’s argument as to the meaning of the email, which is not

   appropriate.

          AWBM Fact no. 22: Likewise, this assertion, AWBM seeks to characterize Defendants

   as “forced” to approve the application, something not supported by the evidence. The bottom line

   is that Defendants approved Plaintiff’s application.

          AWBM Fact nos. 28, 30: AWBM’s only support for these facts is an uncertified transcript

   apparently made from an audio recording by an unknown person. It lacks authentication (FRE

   901), is not self-authenticated (FRE 902(14)), and is not the original audio recording (FRE 1002).

          AWBM Fact no. 31: AWBM attempts to characterize witness statements, which is

   improper and objectionable. The Tyson Sill email speaks for itself.




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          AWBM Fact no. 34: The only support for this fact is the McGregor Report. McGregor,

   who had no involvement with the 2008 proceedings and participates only as a retained expert,

   lacks any foundation to opine as to “evidence of preconceived objectives” by the bank examiners.

   That is not a proper subject of expert opinion. See James Madison Ltd. v. Ludwig, 82 F.3d 1085,

   1095-96 (D.C. Cir. 1996) (disallowing conclusory statements that “it appeared” from the

   examiners’ hostile attitudes, their unwillingness to correct errors, and the “severity” of the

   reserves, that the examiners were “expected,” “instructed,” or had a “predetermined agenda” to

   render the bank insolvent by requiring additional loan loss reserves).

          AWBM Fact no. 47: This fact assertion is unsupported. AWBM cites Exhibit 96, which

   includes a series of handwritten notes allegedly made by Doug Durbano. These are not

   authenticated, and even if they were, they are inadmissible hearsay. Plaintiff is not introducing any

   statement by Defendants; rather, they are relying on handwritten statements by Durbano of his

   own assessment of what someone else said. Those do not purport to be verbatim restatements, and

   they do not fit any hearsay exception.

          AWBM Fact no. 48: AWBM inappropriately characterizes a witness statement as

   “vindictive.” Commissioner Leary’s email speaks for itself.

          AWBM Fact no. 50: Improper characterization, without any support, that Commissioner

   Leary would “make sure that he was right about Doug Durbano in the end.”

          AWBM Fact no. 51: Improper characterization and lack of any evidence that the statement

   in Commissioner Leary’s email (AWBM Fact No. 48) was connected to, much less a determination

   of, any “formal enforcement action.”




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          AWBM Fact no. 58: Improper characterization of Paul Allred as “disingenuous.” On their

   face, AWBM Fact nos. 55-58 are not relevant to any issue in the Motion. Plaintiff can point to no

   authority that a regulatory agency must use one form of enforcement action over another when

   either may be appropriate. The implication of AWBM’s position, however, is troubling: AWBM

   and the Bank wanted a private enforcement action (a memorandum of understanding) rather than

   a public one (Cease and Desist Orders), because they wanted to conceal this material information

   from potential investors. In other words, Plaintiff wanted to perpetrate a fraud on prospective

   investors and is upset that the Defendants would not enable that conduct.

          AWBM Fact nos. 65-70: The only foundation for these claims is the Jim McGregor report

   and deposition testimony. The stated opinions, on their face, are not proper subject matter for

   expert testimony, opining that McGregor can conclude, on the basis of the ROEs, “that the

   examiners entered the examination of America West Bank with a preconceived agenda to conclude

   insolvency” and “[the January 2008 ROE] was the setup, the [2009 ROE] concluded with the

   insolvency,” and that, on the basis of a single sentence in one email is “evidence of personal bias

   and the unprofessional culture under Mr. Leary’s leadership.” See Doc. 326 at 78-79. No witness

   – not even an expert – is qualified to testify about another person’s motivations or state of mind.

   See Pioneer Centres Holding Co. Emp. Stock Ownership Plan & Tr. v. Alerus Fin., N.A., 858 F.3d

   1324, 1342 (10th Cir. 2017); Luciano v. E. Cent. Bd. of Co-op. Educ. Servs., 885 F. Supp. 2d 1063,

   1072 (D. Colo. 2012). Particularly with regard to McGregor’s opinions on “regulator risk”

   (AWBM Fact nos. 67-70), this is a “theory” created solely by McGregor, not subjected to any

   studies or articulable criteria. See Doc. 332-41 at 52-53 (lines 69:7-71:22). Simply put, “regulator

   risk” is whatever McGregor says it is, which is not an admissible basis for expert testimony. See

   Pioneer Centres Holding Co. Emp. Stock Ownership Plan and Tr. v. Alerus Fin., N.A., 858 F.3d

   1324, 1341-42 (10th Cir. 2017); Nelson v. Safeco Ins. Co., 396 F. Supp. 2d 1274, 1278-79 (D.

   Utah 2005).


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          AWBM Fact no. 72: While it is undisputed that the quoted language comes from Stoley,

   Stoley’s assertions lack any evidentiary backing. To the extent AWBM offers that its expert makes

   this claim, that is not disputed, but the assertion is unsubstantiated. Further, notwithstanding

   Stoley’s blanket assertion, his engagement was limited solely to the issue of Defendants’

   determination of the Bank’s insolvency. Doc. 280-46 at 16 (lines 53:4-17). He had no opinion on

   whether the Bank was in a safe and sound condition (in fact, he admitted it was not); he admits the

   Bank failed to reach a 10% Tier 1 capital ratio; and could not say whether the Bank was about to

   become insolvent. See Doc. 280-46 at 12, 16 (lines 36:14-24, 53:18-55:22). As those are

   independent grounds within the 2009 ROE for receivership, Stoley’s assertion, in the final

   analysis, is meaningless.

          AWBM Fact no. 75: The foundation for this fact is the assertion of McGregor about

   Commissioner Leary’s legal duty, which on its face is a conclusion of law and improper subject

   matter for expert opinion. (It’s notable that neither here nor anywhere in argument does AWBM

   identify any legal basis for this alleged duty.)

          AWBM Fact no. 77: The only foundation is the McGregor report, seeking to opine on

   Commissioner Leary’s truthfulness in the receivership proceeding. In his deposition, McGregor

   acknowledged he was not a witness to that proceeding, reviewed no transcript or recording of that

   proceeding, interviewed no witnesses to that proceeding, reviewed no deposition testimony of

   those witnesses, does not know what Commissioner Leary said in that proceeding, reviewed only

   a one-page document of notes prepared by someone else at the hearing. See Doc. 332-41 at 81-82

   (lines 182:9-186:15). McGregor obviously has no foundation to testify about Commissioner

   Leary’s statements in the receivership proceeding.




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           AWBM Fact no. 81: The only support AWBM offers for this fact is not the deposition

   testimony of Mr. Allred but the assertion of AWBM’s counsel, which was never adopted by

   Mr. Allred. See Doc. 332-2 at 55 (lines 213:5-9).

                                             ARGUMENT

      I.      AWBM LACKS STANDING.

           As detailed in the Motion (Doc. 280 at 27), upon appointment, the FDIC-as-receiver

   succeeded to all claims belonging to America West Bank. See 12 U.S.C. § 1821(d)(2)(A); Barnes

   v. Harris, 783 F.3d 1185,1193 (10th Cir. 2015). Rather than contest that its claims are derivative,

   AWBM attempts to distinguish Barnes on the basis that, in that case, the claims at issue were

   brought against the bank itself, whereas here, they are brought against Defendants. See Doc. 326

   at 79-80. This is a distinction without a difference. Plaintiff cites no authority to support its

   argument, and it is contrary to the express language of the Tenth Circuit in Barnes: “Because

   almost all of the plaintiffs’ claims assert injury to the Holding Company that is derivative of harm

   to the Bank, those claims belong to the FDIC.” Barnes, 783 F.3d at 1188 (emphasis added). The

   Courts have made no distinction on the basis advanced by AWBM. See, e.g., American Capital

   Corp. v. FDIC, 472 F.3d 859, 866-67 & n.3 (Fed. Cir. 1996) (disallowing shareholder to pursue

   financial institution’s derivative claim against FDIC). What matters is whether the claims are

   “derivative of harm to the Bank,” and if so, “those claims belong to the FDIC” under the plain

   operation of 12 U.S.C. § 1821(d)(2)(A).

           Plaintiff further seeks to argue that it is entitled to pursue the Bank’s derivative claims

   because a demand upon the FDIC-as-receiver to do so would be futile. See Doc. 326 at 80-81. This

   argument fails on multiple grounds. First, although all of AWBM’s claims are derivative, Plaintiff




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   did not plead any of its claims as derivative claims, as required under Utah law and federal

   procedural requirements. Among other failings, the Second Amended Complaint is not verified

   nor does it anywhere state “with particularity” any efforts made to obtain the desired action from

   the FDIC-as-receiver nor “the reasons for not obtaining the action or not making the effort.” Fed.

   R. Civ. P. 23.1(b); Utah R. Civ. P. 23A (same). These failings are sufficient for dismissal of the

   claims under Utah law: “The second amended complaint, in which Plaintiffs brought their

   derivative claims, makes no mention of the futility exception and fails to address why demand

   would have been futile. This fact alone would be a sufficient basis for turning away Plaintiffs’

   futility claims.” Dansie v. City of Herriman, 2006 UT 23, ¶ 25, 134 P.3d 1139. 7

          Second, relying on Utah Code § 48-3a-802(2), 8 AWBM contends that it need not make any

   demand upon the FDIC-as-receiver because such demand would be futile. Doc. 326 at 81. Not

   only does this argument improperly conflate the FDIC in its corporate capacity with its capacity

   as receiver, see ECCO Plains, LLC v. United States, 728 F.3d 1190, 1192 n.1 (10th Cir. 2013),

   AWMB cites no evidentiary support. Under Utah law, the Court “must exercise considerable

   caution before using futility to relieve a shareholder of his obligation to make the statutorily-

   required demand.” Dansie at ¶ 26. “Courts must not leave such determinations of futility to the

   subjective determination of the party upon which the law requires action; to do so unnecessarily

   risks stripping the corporation of its rights. In fact, it will generally require less effort for the



   7
     Although the Second Amended Complaint asserts federal claims, state law determines the
   handling of derivative claims. See Doc. 280 at 26; Barnes, 783 F.3d at 1193 (applying Utah law);
   Branzan Alternative Inv. Fund, LLP v. Bank of New York Mellon Trust Co., NA, 677 Fed. Appx.
   496, 497 (10th Cir. 2017) (referencing Delaware law for Delaware entity).
   8
     AWBM’s citation to the statute – Utah Code § 428-3a-802 – is obviously erroneous. The Utah
   Code has no Title 428.


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   plaintiff to make a demand on the corporation than to satisfy rule 23.1’s stringent pleading

   requirements. For this reason, application of rule 23.1’s futility exception requires close scrutiny.”

   Id. at ¶ 27. As a result, the Utah Supreme Court recognizes only two instances in which the futility

   exception will be met: “if the corporation had specifically and explicitly stated that it would not

   pursue the claims brought in the derivative action” or “[when] making a demand . . . would be

   substantively detrimental. Such a circumstance could arise if the demand would risk further injury

   to the corporation by, for example, permitting the alleged perpetrator to cover up his misdeeds or

   to cause further harm to the corporation because he had been alerted that his unlawful conduct had

   been uncovered.” Id. at ¶ 28. AWBM’s argument does not address either situation, and AWBM

   asserts no evidence to support such.

           Finally, Plaintiff does not grasp the implications of a derivative claim. Any recovery in a

   derivative action belongs to the corporate entity (in this case, the FDIC-as-receiver) not the

   plaintiff(s) pursuing the derivative suit:

                   (a) [A]ny proceeds or other benefits of a derivative action, whether
                       by judgment, compromise, or settlement, belong to the . . .
                       company and not to the plaintiff; and

                   (b) if the plaintiff receives any proceeds, the plaintiff shall remit
                       them immediately to the . . . company.

   Utah Code § 48-3a-806; see also Barnes, 783 F.3d at 1195; 12 U.S.C. § 1821(d)(11); Kagan v.

   Edison Bros. Stores Inc., 907 F.2d 690, 692 (7th Cir. 1992) (shareholders of insolvent corporation

   cannot displace creditors’ priority by bringing a direct action); Mid-State Fertilizer Co. v.

   Exchange Nat’l Bank, 877 F.2d 1333, 133-36 (7th Cir. 1989) (same). The FDIC’s Deposit

   Insurance Fund – the Bank’s largest and highest-priority creditor – by itself lost $119 million in

   connection with the Bank’s failure, an amount that vastly exceeds the value of the Bank according



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   to Plaintiff’s own expert. See Doc. 280-3 at 3; Doc. 280-47 at 6. As the Deposit Insurance Fund

   and the Bank’s other creditors have a higher repayment priority than shareholders of the Bank, see

   12 U.S.C. § 1821(d)(11), no recovery on the derivative claims would flow to Plaintiff.

            In sum, AWBM lacks standing to pursue any of its claims, all of which are derivative of

   the Bank, and summary judgment should therefore be entered in favor of Defendants.

      II.      CLAIM PRECLUSION BARS AWBM’S CLAIMS.

            AWBM contends that it suffers no claim preclusion because “the statute conferring

   jurisdiction on the Utah court” limited the scope of the proceedings and made them “not subject

   to the normal rules of civil procedure.” Doc. 326 at 84. This argument is devoid of support in Utah

   statutes, case law, and the rules of civil procedure.

            Plaintiff argues that it could not present its arguments in the Utah court because of the

   immediate appointment of the FDIC as receiver of the Bank. Id. They cite no authority for how

   the immediate appointment of a receiver would divest the Utah court of jurisdiction to provide a

   remedy, but presumably they are alluding to the argument made in Plaintiff’s Motion for Partial

   Summary Judgment. See Doc. 258. Defendants have already addressed and rebutted this

   contention and incorporate that argument here by reference. See Doc. 284 at 24-31. To briefly

   summarize, every court that has considered this question has concluded that federal statutes

   governing the FDIC and similar regulatory bodies are no obstacle to a challenge to remove the

   FDIC’s receivership when improvidently granted. See James Madison Ltd. v. Ludwig, 82 F.3d

   1086, 1093 (D.C. Cir. 1996) (“We . . . read section 1821(j) to prevent courts from interfering with

   the FDIC only when the agency acts within the scope of its authorized powers, not when the agency

   was improperly appointed in the first place.”); Franklin Sav. Ass’n v. Office of Thrift Supervision,




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   35 F.3d 1466, 1470 (10th Cir. 1994) (holding that a similar statute “limit[s] judicial review to the

   initial appointment of a conservator or receiver” – that is, it does not bar statutory review

   procedures like Utah’s). 9 The federal statute expressly preserves “powers” and “duties” provided

   by state law when the FDIC is appointed receiver by a state regulatory agency. See 12 U.S.C. §

   1821(c)(3)(B). AWBM never addresses this provision and cites no contrary authority.

          Without any caselaw support, AWBM instead makes a tortured reading of the relevant

   Utah statutes, arguing that Utah Code § 7-2-2 grants the Utah court only a “narrow . . .

   jurisdiction.” Doc. 326 at 86. This is not true. The Utah district courts are courts of general

   jurisdiction, having “original jurisdiction in all matters civil and criminal” unless specifically

   excepted by statute or the Utah Constitution. See Utah Code § 78A-5-102(1). Nothing in § 7-2-2

   limits that jurisdiction. Neither can AWBM cite any authority holding that it does. The

   jurisdictional discussion in § 7-2-2 instead, on its face, is setting forth the proper venue (“The

   district court for the county in which the principal office of the institution or other person is

   situated”) and – directly contrary to AWBM’s argument – confirms that the court’s power is

   plenary in addressing any challenge to the receivership proceeding: “The court has jurisdiction to

   hear all objections to the actions of the commissioner and may rule upon all motions and actions

   coming before it.” Utah Code § 7-2-2(3) (emphasis added). “Actions” in this context necessarily



   9
     Other courts have made the point that the relevant federal statutes should not be read to deny a
   party’s due process rights. See, e.g., Placida Prof’l Ctr., LLC v. FDIC, 512 F. App’x 938, 948-49
   (11th Cir. 2013); Elmco Properties, Inc. v. Second Nat’l Fed. Sav. Ass’n, 94 F.3d 914, 923 (4th
   Cir. 1996); Freeman v. FDIC, 56 F.3d 1394, 1399 (D.C. Cir. 1995); Nat’l Trust v. FDIC, 995 F.2d
   238, 240 (D.C. Cir. 1993), aff’d in relevant part, 21 F.3d 469 (D.C. Cir 1994); First Fed. Sav. Bank
   and Trust v. Ryan, 927 F.2d 1345, 1358 (6th Cir. 1991); Dobbins v. Dobbins, 2015 WL 3952737,
   *4 (W.D. Okla. June 29, 2015); Dernis v. FDIC, 2013 WL 12109431, *1 & n.1 (W.D. Mich. July
   3, 2013); Centennial Assocs. Ltd. P’ship v. FDIC, 927 F. Supp. 806, 813 (D.N.J. 1996).


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   means causes of action, such as those asserted by AWBM here. It has no other meaning in context.

   If the state court finds the receivership was wrongful, it may not only order the surrender of the

   institution but also do so “in a manner and on terms designated by the court in the public interest.”

   Utah Code § 7-2-3(1)(c).

          AWBM knew, as a matter of fact, of those rights, and consciously chose not to pursue

   them, on the advice of legal counsel. See Doc. 280-43 at 44-45 (deposition lines 164:24-167:20).

   Under both state and federal law, where a party has the opportunity to challenge the receivership

   proceeding and does not do so, it has waived its claims. See Hindes v. FDIC, 137 F.3d 148, 167

   (3d Cir. 1998); Brown v. Weis, 871 P.2d 552, 568 (Utah Ct. App. 1994). This Court has already

   rejected AWBM’s argument in substance:

                  At oral argument, Plaintiff argued that any post-deprivation hearing
                  would have been “too late” and would not have comported with due
                  process, comparing the Utah Department’s taking of the Bank to the
                  execution of a prisoner. . . . The court rejects this argument. The
                  Bank could have sought an emergency hearing with the state court
                  and could have prevented the injuries it now complains of.

   Doc. 64 at 34 n.16.

          AWBM cannot speculate about the adequacy of state judicial remedies it never invoked.

   See, e.g., Pinder v. Mitchell, 658 F. App’x 451, 455-56 (10th Cir. 2016) (rejecting argument that

   plaintiffs were not required to pursue post-deprivation remedies and finding no basis for assertions

   that those remedies were inadequate); Stanley v. McMillian, 594 F. App’x 478, 480 (10th Cir.

   2014) (“speculation” that remedy would be inadequate not sufficient to show denial of due

   process); Myers v. Koopman, 738 F.3d 1190, 1194 (10th Cir. 2013) (“Myers had an adequate

   remedy. He let it wither. Due process has been duly satisfied.”); Rodriguez v. City of Carlsbad,

   2002 WL 35649875, *5 (D.N.M. June 13, 2002) (“A procedural due process claim such as



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   Plaintiff’s tests the adequacy of process actually provided. Here, Plaintiff did not afford himself of

   the available process. Thus, this Court is unable to review the procedures to determine whether or

   not they would have been adequate.”).

             Finally in regard to this argument, it is notable that AWBM fails even to address Utah case

   law directly on point, holding that the failure to challenge a receivership proceeding is a bar to

   subsequent litigation. See Brown v. Weis, 871 P.2d 552, 567-68 (Utah Ct. App. 1994). Although

   Brown, as a Utah Court of Appeals decision, is not controlling on this Court, it is notable that the

   Utah Supreme Court – in its examination of AWBM’s claims – expressly examines and relies upon

   Brown, although on other grounds. See America West Bank Members, L.C. v. State, 2014 UT 49,

   ¶ 25, 342 P.3 224. Never even grappling with this decision, AWBM offers no reasoned argument

   why it should not apply here.

             Simply put, in addition to its lack of standing to assert its claims, AWBM’s claims are also

   barred by its failure to assert them when it had the opportunity – and the obligation – to do so in

   the state court proceeding. For this additional and independent reason, the Court should enter

   summary judgment in favor of Defendants on all claims.

      III.      AWBM FAILED TO EXHAUST ITS ADMINISTRATIVE REMEDIES TO
                CHALLENGE THE ROEs.

             AWBM does not contest that both UDFI and the FDIC provide administrative processes to

   challenge an ROE. See 12 U.S.C. § 4806(f)(1)(A); Utah Code § 7-1-302. Neither does AWBM

   dispute that most of the allegedly wrongful conduct complained of by AWBM was in the ROE

   process. See, e.g., Complaint at ¶¶ 37 (CAMELS ratings), 40 (alleged changes in valuation), 42

   (change in accounting procedures), 51 (assertion that “proper reports” would have reflected

   differently), 58 (complaining about “negative examination report”). Instead, Plaintiff argues that




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   administrative exhaustion does not apply because “Plaintiff’s claims are for violation of

   constitutional rights, which violations were not completed until the Commissioner took possession

   of the Bank,” Doc. 326 at 88. This is a non sequitur. Administrative exhaustion does not depend

   upon the point at which the elements of a claim are complete nor the legal theory asserted.

   Exhaustion applies any time an administrative process exists for challenging any portion of the

   alleged misconduct asserted by the plaintiff.

          The Utah Supreme Court has expressly held that administrative exhaustion applies in cases

   of constitutional claims. See Utah Stream Access Coalition v. VR Acquisitions, LLC, 2019 UT ¶

   47, 439 P.3d 593 (“Our courts may mandate exhaustion of administrative claims that are viewed

   as necessary predicates to litigation of constitutional claims.”) (citing Patterson v. Am. Fork City,

   2003 UT 7, ¶ 17, 67 P.3d 466). In Patterson, the plaintiff asserted multiple claims under federal

   and state constitutions and other state-law theories. See Patterson at ¶ 3. Patterson, like AWBM,

   “bald[ly] assert[ed] that the exhaustion requirement does not apply to state constitutional claims.”

   Id. at ¶ 18. The Utah Supreme Court found that “not persuasive.” Id. 10

          Here, Plaintiff’s challenges to the ROEs are a necessary predicate to AWBM’s

   constitutional claims. AWBM expressly acknowledges their relevance. See Doc. 326 at 88 (“the

   events preceding May 1, 2009, are relevant to the constitutional claims, including the faulty ROEs

   and improper examination process”). It is irrelevant that “those preceding events are not claims

   for which Plaintiff seeks redress.” Id. Because Plaintiff relies upon them as a basis for liability,

   AWBM was obliged to exhaust their administrative remedies pertaining to those issues.




   10
     While Patterson observes that administrative exhaustion did not apply to that plaintiff’s federal
   constitutional claims, id., that case turned on a state land-use decision with no federal correlate
   administrative process. Where present, federal claims too are subject to administrative exhaustion.
   See Summerhaze Co., L.C. v. FDIC, 2014 UT 28, ¶ 10, 332 P.3d 908.


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          In the alternative, AWBM argues that it did exhaust its administrative remedies because

   “Plaintiff zealously disputed the results of the 2008 and 2009 ROEs and provided a written request

   for review of the findings on multiple occasions.” Doc. 326 at 89. Defendants will address each

   asserted instance in order.

          First, AWBM cites a June 27, 2008, letter (Doc. 332-5). Assuming for the sake of argument

   that the June 2008 letter constitutes a written request for the informal administrative proceeding

   provided by Utah Code § 7-1-302, it relates solely to the 2008 ROE. AWBM does not show that

   the 2008 ROE was presented to the state court in the receivership proceeding or was in any way a

   basis for the receivership. Further, the June 27th letter asserts only unidentified “factual errors,”

   see Doc. 332-5 at 1-2, which does not fulfill the requirements of a request to “state the grounds for

   review and the relief requested.” Utah Code § 63G-4-301(b)(ii).

          Second, AWBM cites an August 8, 2008, email allegedly transmitting a June 30, 2008,

   internal memorandum from Brent Savage to Greg Haws (Doc. 332-6). This document fails because

   AWBM nowhere submits that transmittal email to show that it meets the requirements of Utah

   Code § 63G-4-301(b). Even if it did, it would suffer from the same failings as the June letter: it

   relates only to the 2008 ROE, which was not a factor in the receivership proceeding.

          Third, AWBM cites a February 26, 2009, email (Doc. 332-7 at 1-3). The referenced email,

   however, is internal, from “Doug’s Assistant” to “AWB Chairman.” See Doc. 332-7 at 1. It

   references a discussion with Tyson Sill but no communication, written or otherwise, to

   Commissioner Leary. Id. It also pre-dates finalization of the 2009 ROE, so it cannot constitute a

   challenge to the final report. See Doc. 280-26 at 75 (noting March 26, 2009, as the date final exam

   results were discussed with the Bank’s board).




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          Fourth AWBM cites an April 15, 2009, email (Doc. 332-7 at 4-5). This is an email from

   Brent Wilde to Tom Bay and Tyson Sill. Id. at 4. Again, this fails the requirement that a request

   for agency review be directed to Commissioner Leary. See Utah Code § 7-1-302.

          Fifth, AWBM cites an April 2009 11 email chain between Tom Bay and Brent Wilde (Doc.

   332-7 at 6-8). This likewise fails to constitute a request for review to Commissioner Leary.

          Further, assuming for the sake of argument that AWBM actually invoked the

   administrative process with any of these documents or others, AWBM had thirty days to petition

   for judicial review if dissatisfied: “A party shall file a petition for judicial review of final agency

   action within 30 days after the date that the order constituting the final agency action is issued or

   is considered to have been issued under Subsection 63G-4-302(3)(b).” Utah Code § 63G-4-

   401(3)(a). Subsection 63G-4-302(3)(b) provides for a tacit denial of an administrative claim if no

   response is received within 20 days, thus mooting any argument that there was no administrative

   decision. In other words, the limitations period for any claim predicated on a challenge to an ROE

   expired within 50 days of AWBM’s alleged request. For all of these documents, this was well

   before the filing of AWBM’s original complaint in state court on June 28, 2011. See Doc. 280-44

   at 11. In sum, none of the examples cited by AWBM constitute a request for administrative review

   meeting the requirements of the Utah Code. See Utah Code §§ 7-1-302, 63G-4-301(b). Nor is this

   surprising given the unrebutted fact that AWBM was ignorant of the administrative review

   process. See Doc. 280-27 at 24 (lines 84:24-85:24).




   11
      The top-most date is April 14, 2015. This is not the actual date of the emails but appears to be a
   relic of a date code that was activated when the pdf was created. An internal dateline for the second
   email of April 21, 2009, gives the correct timing of the exchange. Id. at 6.


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          Finally, AWBM argues that it should be excused from administrative exhaustion because

   exhaustion would have been futile, because any administrative appeal was to Commissioner Leary,

   and “Commissioner Leary himself behaved in an unreasonable, arbitrary, and capricious manner

   by manipulating the ROEs and examination process as cover for an improper motive to seize the

   Bank.” See Doc. 326 at 88. Plaintiff’s argument is devoid of any evidentiary citation to support

   this assertion. The Commissioner is not involved in the examination process. As detailed in the

   Motion and unrebutted by AWBM, each examination has two Examiners in Charge (“EIC”), one

   appointed by the FDIC and the other by UDFI. See Doc. 280-13 at 7 (lines 17:14-22); Doc. 280-

   14 at 7 (lines 17:7-10). The EICs decide the assignments of the other examiners. See Doc. 280-13

   at 7 (lines 17:23-18:13); Doc. 280-14 at 28 (lines 98:10-18). An Assets Manager below the EICs

   oversees the review of the bank’s loan portfolio. Doc. 280-14 at 7 (lines 17:14-17); Doc. 280-15

   at 7-9 (lines 16:6-18, 21:16-23:14); Doc. 280-13 at 15 (lines 46:17-22). An examiner assigned to

   review loans will review the selected loan files and determine a classification for each loan. Doc.

   280-13 at 10, 12-14 (lines 28:1-16, 34:19-35:12, 41:20-42:19); Doc. 280-14 at 17-19, 26 (lines

   54:4-9, 60:10-18, 61:14-62:22, 90:1-10, 19-25). If an examiner downgrades a loan below how the

   bank classified it, that determination is reviewed with the Asset Manager, the bank loan officer,

   and ultimately the bank’s management team. Doc. 280-13 at 17 (lines 56:7-57:14). After the EICs

   have received the data from the managers and examiners, they draft the initial ROE. Doc. 280-13

   at 8, 15 (lines 19:1-6, 47:21-48:15); Doc. 280-15 at 10 (lines 27:22-28:13). UDFI’s Supervisor of

   Banks will review the draft ROE for completeness and accuracy. Doc. 280-16 at 8, 19 (lines 20:13-

   18, 64:19-65:2); Doc. 280-15 at 10 (lines 28:11-13). In collaboration with their counterpart at the

   FDIC (called a case manager), the Supervisor of Banks will then finalize any edits to the ROE.




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   Doc. 280-16 at 10, 19 (lines 28:25-29:20, 64:25-65:7); Doc. 280-15 at 10 (lines 28:11-21). Only

   at that very late stage, after the conclusion of the examination itself, are the findings reported to

   the Chief Examiner and sometimes to the Commissioner and Deputy Commissioner. Doc. 280-16

   at 7-8, 12 (lines 16:17-24, 17:24-18:3, 34:2-6). That is after all the adverse loan classifications that

   damned America West Bank had already been made – by individuals several steps removed from

   Commissioner Leary, individuals that AWBM presents no evidence were influenced by the

   Commissioner nor were in any way biased against the Bank.

           AWBM presents no evidence that Commissioner Leary interjected himself in this process

   or influenced the result. Plaintiff relies on nothing more than innuendo and insinuation. That is not

   sufficient to survive summary judgment. Cypert v. Independent School Dist. No. I-050, 661 F.3d

   477, 481 (10th Cir. 2011) (“‘Unsubstantiated allegations carry no probative weight in summary

   judgment proceedings. To defeat a motion for summary judgment, evidence, including testimony,

   must be based on more than mere speculation, conjecture, or surmise.’”) (quoting Bones v.

   Honeywell Int’l, Inc., 366 F.3d 869, 875 (10th Cir.2004)).

           Moreover, AWBM fails to make out a case for irreparable harm from being required to

   exhaust its administrative remedies. As Plaintiff’s own argument points out, the actual harm was

   not consummated until over a year after the 2008 ROE and several weeks after the 2009 ROE,

   when the Bank was placed into receivership on May 1, 2009. See Doc. 326 at 88. A meritorious

   challenge to the ROEs prior to that would have derailed that series of events. The fact that Plaintiff

   then delayed years in pursuing this litigation negates any other inference of irreparable harm from

   first being required to pursue its administrative remedies.




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              Further, Plaintiff never addresses what it means to sustain “irreparable harm”: “Courts

   apply the same irreparable harm standard in the failure-to-exhaust context as in the preliminary

   injunction context. . . . A plaintiff shows it will suffer irreparable harm if it demonstrates there is

   ‘a significant risk that [it] will experience harm that cannot be compensated after the fact by

   monetary damages.’” Kansas ex rel. Kansas Dep’t for Children and Families v. SourceAmerica,

   874 F.3d 1226, 1250 (10th Cir. 2017) (citing Randolph-Sheppard Vendors of Am. v. Weinberger,

   795 F.2d 90, 110 (D.C. Cir. 1986); RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1210 (10th Cir.

   2009); Prairie Band of Potawatomi Indians v. Pierce, 253 F.3d 1234, 1250 (10th Cir. 2001)). 12

              In sum, Plaintiff never attempted, much less exhausted, their available administrative

   remedies to challenge the 2009 ROE. 13 The time has long since passed to do so, and the failure to

   pursue an administrative remedy is a bar to litigation regarding alleged errors in the ROE.

   Therefore, Defendants are entitled to summary judgment on this issue, as well.

        IV.      COMMISSIONER LEARY IS ENTITLED TO QUALIFIED IMMUNITY.

              Commissioner Leary is entitled to qualified immunity on AWBM’s § 1983 claim. AWBM

   has the burden to show that both (1) Commissioner Leary “violated a federal constitutional or

   statutory right,” and (2) that right “was clearly established at the time of the [alleged] unlawful

   conduct.” Medina v. Cram, 252 F.3d 1124, 1128–30 (10th Cir. 2001); see also Saucier v. Katz,

   533 U.S. 194 (2001); Mick v. Brewer, 76 F.3d 1127, 1134 (10th Cir. 1996). Plaintiff’s Opposition

   fails both elements.


   12
      Plaintiff’s citation to Free the Nipple v. City of Fort Collins, 916 F.2d 792, 807 (10th Cir. 2019),
   is inapposite. See Doc. 326 at 90. That case concerned a preliminary injunction, and while the
   courts may apply the same standard in that context for determining what constitutes “irreparable
   harm,” the difference in context here is determinative: AWBM is seeking to be excused from
   pursuing its administrative remedies having never attempted them and waiting until years after the
   fact to seek relief.
   13
      The same is true regarding the 2008 ROE, but as to that report, a further issue is its irrelevance,
   as AWBM cannot show it was a factor in the receivership proceeding.


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          A.      AWBM Fails to Show Commissioner Leary Violated a Federal
                  Constitutional or Statutory Right.

          Most of Plaintiff’s Opposition – 78 of 110 pages – is consumed with a lengthy factual

   diatribe. When it comes to the argument, however, Plaintiff makes virtually no effort to tie any

   factual citations to its assertions, as required by local rule. See DUCivR 56-1(c)(5) (“Argument. .

   . . Any factual citations must cite to the appropriate party’s Statement of Undisputed Material

   Facts.”). The burden is not upon the Court nor Defendants to discern which particular facts or

   evidence Plaintiff intends by its vague references. It is incumbent upon the Plaintiff to make

   specific references. The only evidence referenced in AWBM’s due process argument are two

   emails and certain deposition testimony by Douglas Durbano.

          The first email is from Commissioner Leary to Tom Bay on April 2, 2008:

                  Thought you should know Doug [Durbano] has already gone to Sen
                  Bennett about the overly aggressive regulator. He tied [sic] to tell
                  Mike N. that it was the FDIC I said no it isn’t, it’s the state just as
                  much if not more. He deserves the treatment.

   See Doc. 326 at 92; Doc. 332-42 at 1. AWBM provides no context, but the email was during the

   2008 examination when the Bank was being downgraded. In context, the email indicates nothing

   more than that the Commissioner believed the downgrade was warranted. The Bank (by Durbano

   and others) later consented to the Cease and Desist Orders, expressly waiving its opportunity to

   challenge those findings in an administrative proceeding. See Docs. 280-21, -22, -23, -24.

          The second is an April 21, 2009, internal FDIC email from Darren Ewell to Tim Lackey

   and others, forwarding a Brent Wilde email to Tyson Sill and Tom Bay. Ewell makes a one-line

   comment: “FYI – Not that it matters, but just in case you are interested.” See Doc. 326 at 94; Doc.

   332-43 at 1. AWBM argues the Ewell email demonstrates “a caustic regulatory environment




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   against the Bank . . . such that by April 2009 [the Commissioner’s] personnel were indifferent to

   the Bank’s disagreement with the arbitrary and aggressive regulatory treatment.” Doc. 326 at 94.

   One fatal failing of this argument: neither Ewell nor any of his recipients are “the Commissioner’s

   personnel.” As indicated by the Bates number on the email, this is an FDIC document, an email

   from one FDIC examiner (Darren Ewell) to three other FDIC examiners (Tim Lacke, Nathan

   Heizer, Robert Preite, and Robert Magee). See Paul Allred Dec. at ¶¶ 4-5, attached as Supp. Appx.

   50. It has no connection to Defendants, and even if it did, the contents are inane. An “FYI” email

   is just that: a transmittal of the attached information, in this case without any substantive comment.

          Durbano’s deposition testimony is that an unspecified person at an unspecified time and

   place encouraged Durbano to “Keep raising capital” and “You have to trust us.” Lacking any

   context or foundation, this is not admissible evidence. See Fed. R. Civ. P. 56(c)(4); Brown v. Perez,

   835 F.3d 1223, 1232 (10th Cir. 2016). From 2008 until the receivership in May 2009, the Bank was

   experiencing a capital crisis and (from September 2008) was even under Cease and Desist Orders

   to raise its Tier 1 capital ratio to 10%. See, e.g., Doc. 280-24 at 5. “Raise capital” is what any

   person would have recommended if the Bank wished to stay in business.

          More importantly, these emails and deposition testimony provide no evidence that

                  Commissioner Leary and UDFI disregarded the statutory perquisites
                  by taking possession for reasons unrelated to the financial health of
                  the Bank, having manipulated examinations, reports, and formal
                  actions to manufacture a basis for taking possession, then preventing
                  AWBM from raising additional capital, and all of this being
                  motivated by personal bias or vendetta and a desire to clear the slate
                  of the unique member banking structure.

   See Doc. 326 at 92. Plaintiff’s entire argument in this regard is nothing but bluster. AWBM

   acknowledges they obtained no supporting evidence in any of their multiple depositions of UDFI




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   employees, past and present. See Doc. 326 at 94 (“Defendants were unwilling in depositions to

   openly admit personal bias . . . .”). Yet again, AWBM relies upon nothing more than speculation

   and unsubstantiated innuendo to support its case, and this is insufficient to withstand summary

   judgment. See Cypert, 661 F.3d at 481.

          Plaintiff submits nothing to controvert the fact that the Bank had been ordered, in the Cease

   and Desist Orders, to reach and maintain a Tier 1 capital ratio of 10%, and by the Bank’s own

   records, the Bank never did so, a violation of the Cease and Desist Orders and a failure to maintain

   a minimum amount of capital, both of which are grounds for receivership. See Doc. 280-24 at 5;

   Doc. 280-32 at 3; Utah Code § 7-2-1(1)(f), (h). AWBM’s own banking expert admits the Bank

   was in an unsafe and unsound condition, likewise grounds for receivership. Doc. 280-46 at 12

   (lines 36:14-24); Utah Code § 7-2-1(1)(a), (k). According to the Bank’s own external auditor, the

   Bank was insolvent, another ground for receivership. Doc. 280-30 at 9 (lines 24:19-25:9); Utah

   Code § 7-2-1(1)(g). Likewise, the Bank’s own financials indicated the Bank had only $1.2 million

   in remaining capital and was losing over $100,000 a day as of March 31, 2009 – an indication of

   imminent insolvency. Doc. 280-31 at 3.

          Furthermore, the Court has limited the procedural due process claim to evidence of false

   statements or material omissions in the Commissioner’s presentation to Judge Morris. Doc. 64 at

   22-24. 14 As Defendants have shown, Commissioner Leary presented the conclusions of the 2009



   14
      Plaintiff denies that the Court did so, Doc. 326 at 96, but the Court made it clear that the
   information set forth in the ROE was sufficient grounds for closing the Bank, and held that,
   provided that Judge Morris relied on that information and not on false statements or material
   omissions, AWBM’s due process claim failed. Doc. 64 at 32. AWBM has identified no false
   statements or material omissions at all in the presentation to Judge Morris, let alone that Judge
   Morris relied on such statements in closing the bank.


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   ROE to Judge Morris. Plaintiff’s disagreement with those conclusions does not make the proffer

   of those conclusions as the basis for closing the Bank a false statement, and indeed it is evident

   that those conclusions were well grounded in fact, as noted in the preceding paragraph.

          Even taking AWBM’s unsubstantiated arguments at face value, they identify no fraud upon

   the state court nor any failure to follow the statutory procedures. AWBM argues “the

   Commissioner represented . . . to the court that an order of possession was required due to

   inadequate capital levels, the Commissioner knew that the reports upon which he was relying for

   that representation had been vigorously contested by the Bank.” Doc. 326 at 97. Advocating a

   contested fact is not a misrepresentation. “[The Commissioner] took no steps to verify the accuracy

   of his examiners’ work.” Id. This also does not constitute a misrepresentation, neither can AWBM

   identify any requirement that the Commissioner doublecheck the work of his subordinates. Other

   than these assertions, AWBM argues only “strong inferences” that are nothing more than its own

   speculation. See id.

          In sum, AWBM fails to demonstrate that the Commissioner did not follow the statutory

   requirements and have grounds for the receivership of America West Bank, and AWBM submits

   no evidence of any fraud upon the state court.

          B.      AWBM Fails to Show Any Alleged Right Was Clearly Established.

          A clearly established right is one set forth in a Supreme Court or Tenth Circuit decision on

   point or clearly established by the weight of authority from other circuit courts. Cortez v.

   McCauley, 478 F.3d 1108, 1114–15 (10th Cir. 2007) (en banc). In the absence of evidence of any

   constitutional violation, the Court need not reach the issue of whether such a right was clearly

   established. Nevertheless, AWBM’s showing is deficient on its face. While a case need not be an

   exact repetition of the current situation to be “on point,” general propositions of law are



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   insufficient. Ashcroft v. al-Kidd, 563 U.S. 731, 742 (2011); Gomes v. Wood, 451 F.3d 1122, 1128

   (10th Cir. 2006). Most of AWBM’s cases have no relation to the regulation of financial institutions

   and their receiverships, so they merit no discussion beyond that. 15

          Browder v. City of Albuquerque, 787 F.3d 1076 (10th Cir. 2015), is cited for the proposition

   that some conduct is so extreme that specific caselaw on point is unnecessary to clearly establish

   a constitutional right, but the facts in that case are decidedly extreme and bear no relationship to

   AWBM’s claims, not even by analogy. 16 This also generally distinguishes Plaintiff’s argument

   that this is a case of “flagrant violations” requiring a lesser burden of legal proof. See Doc. 326 at

   100 & n.15. For example, while the Jensen decision relied upon by AWBM acknowledges this

   argument in principle, the Utah Supreme Court found no violations in that case. See Jensen ex rel.

   Jensen v. Cunningham, 2011 UT 17, ¶¶ 70-104, 250 P.3d 465. Like here, the Jensens’ claims of

   wrongdoing were founded upon bare speculation and a lack of any evidence of wrongful motives

   or misrepresentations by the defendants. See, e.g., id. at ¶¶ 80-85.




   15
     These inapposite cases include Hope v. Pelzer, 536 U.S. 730, 739 (2002) (punishment of an
   inmate); Clark v. Edmunds, 513 F.3d 1219, 1222 (10th Cir. 2008) (Sheriff’s alleged use of
   excessive force when taking someone into custody); Anderson v. Creighton, 483 U.S. 635, 640
   (1987) (claim against FBI for warrantless search); Jensen ex rel. Jensen v. Cunningham, 2011 UT
   17, 250 P.3d 465 (dispute regarding medical care of a minor); Walker v. State, 624 P.2d 687 (Utah
   1981)) (habeas corpus proceeding); Bott v. DeLand, 922 P.2d 732 (Utah 1996) (inmate action for
   negligent medical care); Shroff v. Spellman, 604 F.3d 1179 (10th Cir. 2010) (arrest and strip
   search); .
   16
      “Adam Casaus was going nowhere fast. After finishing his shift at the Albuquerque police
   department and on no one’s business but his own, he got into his police cruiser, flipped on the
   emergency lights, and drove off at an average of about 66 miles an hour on city surface streets
   through ten different intersections over a stretch of 8.8 miles. Then he reached an eleventh
   intersection. The light was red. He pressed the gas pedal, ignored the light, and the result was a
   terrible crash. Ashley Browder died. Her sister, Lindsay, suffered grave injuries. Sergeant Casaus
   eventually found himself criminally charged with reckless vehicular homicide in state court.” Id.
   at 1077.


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           Fuentes v. Shevin, 407 U.S. 67 (1972), while at least involving a seizure of property,

   involved a sheriff seizing housewares under a writ of replevin. Id. at 69-70. That is not on point to

   clearly establish any rights in the highly-regulated field of financial institutions.

           Fahey v. Mallonee, 332 U.S. 245 (1947), involving the receivership of a savings and loan,

   is at least in the ballpark of relevance. But Fahey contradicts AWBM’s position rather than

   supporting it. In Fahey, the Supreme Court notes that, even though in other contexts an ex parte

   hearing may be “a drastic procedure,” it is the “invariable custom” in the “history and customs of

   banking” and not unconstitutional. Id. at 253-54. Bank receiverships are the paradigmatic example

   of where this procedure is appropriate. Thus, Fahey certainly does not clearly establish any

   constitutional right that Defendants could have violated.

           Brown v. Weis, 871 P.2d 552 (Utah App. 1994), involved receivership of a thrift institution

   – again, at least in the relevant ballpark. A Utah Court of Appeals decision is not “controlling

   authority” for purposes of the “clearly established” analysis. A state court decision below the level

   of the state supreme court is not even binding upon a federal court for questions of state law. See

   Kokins v. Teleflex, Inc., 621 F.3d 1290, 1297 (10th Cir. 2010). As Defendants also find portions of

   the holding in Brown relevant and applicable, for purposes of this argument, Defendants assume

   it is at least persuasive authority. It still offers no support to AWBM.

           In Brown, the court again found no constitutional violation. Brown, 871 P.2d at 567. To

   the contrary, Brown noted the weight of authority that due process does not require a pre-seizure

   hearing for a bank receivership. Id. at 566-67 (citing cases). Indeed, Brown holds that the public

   interest and the necessity of prompt action are necessarily present in the seizure of a failing

   financial institution. Id. at 567 (“The seizure of a failing thrift is in the public interest, and prompt




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   action is necessary.”). The only outstanding consideration is whether the process complied with

   the applicable statute. Id. The state court already found that it did. See Doc. 280-40 at 2-5. This

   Court, considering the issue, concluded, “Judge Morris had the authority to deny the petition if

   Commissioner Leary’s actions were arbitrary, capricious, fraudulent, or contrary to law. Instead,

   on May 1, 2009, the same day the petition was filed, Judge Morris entered an Order Approving

   Possession.” Doc. 64 at 11 (footnote omitted).

           C.     Commissioner Leary’s Actions Were Objectively Reasonable Under the
                  Circumstances.

           Even if a plaintiff meets the “heavy two-pronged burden,” a defendant is not liable if he

   shows that his actions were objectively reasonable under the circumstances, or that he was

   reasonably mistaken as to the legality of the actions. Medina, 252 F.3d at 1128-30. Commissioner

   Leary readily meets that standard. Consider that, at the time of the receivership, the Bank’s own

   internal financial documents showed that the Bank was critically undercapitalized. See Doc. 280-

   31 at 3. This conclusion was echoed by the Bank’s own external auditor, who concluded that the

   Bank was insolvent. See Doc. 280-30 at 9 (lines 24:19-25:9). This is grounds for receivership under

   Utah law, and the federal Prompt Corrective Action statute requires receivership in such cases. See

   Utah Code § 7-2-1(1)(g); 12 U.S.C. § 1831o(h)(3) (2009). A receivership is objectively reasonable

   on such information.

           In sum, on all three independent grounds, Commissioner Leary is entitled to qualified

   immunity. This disposes of AWBM’s § 1983 claim against him.

      V.        AWBM’s PROCEDURAL DUE PROCESS CLAIM FAILS.

           For much the same reason, AWBM’s procedural due process claim under the Utah

   Constitution also fails, because the state law analysis closely tracks the federal analysis. The Utah

   Supreme Court has adopted federal standards for determining whether a right is clearly established.



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   See Spackman ex rel. Spackman v. Board of Educ., 2000 UT 87, ¶ 23, 16 P.3d 533 (relying upon

   Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) and Anderson v. Creighton, 483 U.S. 635, 639-40

   (1987)). At a minimum, this requires at least one controlling decision holding that Defendants’

   conduct violated the Bank’s rights. As discussed in detail in Section IV, above, AWBM cannot

   give the Court any.

           The closest Plaintiff comes is their reliance on America West Bank Members, L.C. v. State,

   2014 UT 49. AWBM first contends that “Defendants’ arguments as to the three points of the

   Spackman test were rejected by the Utah Supreme Court in the original case.” Doc. 326 at 101

   (citing America West at ¶¶ 37-44). It is difficult to see how Plaintiff reaches this conclusion, when

   the very portions of the opinion cited hold that AWBM failed to allege a claim meeting the

   Spackman requirements. See America West at ¶¶ 38-39 (citing the Spackman elements and then

   concluding, “The complaint under review falls far short of alleging those elements.”). The Court

   reiterates all three Spackman factors and concludes, “These essential elements are set forth

   nowhere in the complaint. Thus, this claim was properly dismissed for failure to state a claim.”

           The only qualification made by the Court was that, unlike the federal courts, which have

   adopted a per se rule that the federal due process clause allows for an ex parte hearing in bank

   receivership proceeding, Utah has not yet adopted a per se rule under the requirements of the Utah

   Constitution due process clause. America West at ¶ 43. The Court leaves open the possibility a

   plaintiff might “allege facts sustaining the conclusion that a pre-seizure hearing was required by

   due process.” Id. This fails to establish a flagrant violation for at least two reasons. This holding

   establishes only that the Court cannot say there was no violation. Plaintiff must have a case holding

   that there is a violation. Further, that case – unlike America West – must predate the alleged

   wrongful conduct. See Peak Alarm Co., Inc. v. Salt Lake City Corp., 2010 UT 22, ¶ 41, 243 P.3d

   1221 (“[T]he plaintiff must . . . prove the right was clearly established at the time of the purported

   violation.”).


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            As noted in Section IV.A, the Opposition does not refute the existence of statutory grounds

   for the receivership of America West Bank. It does not establish any misrepresentation to the state

   court. It does not establish any constitutional violation, much less a violation of a clearly

   established right. Section II, above, addresses the fallacy of AWBM’s argument that, once the

   receivership was granted, there was nothing Plaintiff could do to challenge it in the state court.

   Consequently, Defendants are entitled to summary judgment on AWBM’s procedural due process

   claim on this additional and independent basis.

      VI.      AWBM’s SUBSTANTIVE DUE PROCESS CLAIM FAILS.

            For the same reasons, AWBM’s substantive due process claim fails. The conduct at issue

   must “shock the conscience.” Disability Law Ctr. v. Utah, 180 F.Supp.3d 998, 1013 (D. Utah

   2016). It cannot shock the conscience to place into receivership a bank that is operating in an

   unsafe and unsound condition, when the relevant statute expressly allows for that. Doc. 280-46 at

   12 (lines 36:14-24); Utah Code § 7-2-1(1)(a), (k). It cannot shock the conscience to place into

   receivership a bank whose own external auditor – identified as an expert on this very subject – has

   declared insolvent. Doc. 280-30 at 9 (lines 24:19-25:9); Utah Code § 7-2-1(1)(g). It cannot shock

   the conscience to place into receivership a bank that is indisputably in violation of Cease and Desist

   Orders from both UDFI and the FDIC. See Doc. 280-24 at 5; Doc. 280-32 at 3; Utah Code § 7-2-

   1(1)(f), (h). It cannot shock the conscience to place into receivership a bank whose own financial

   records betray that it is critically undercapitalized, with a minimal $1.2 million and losing over

   $100,000 a day. Doc. 280-31 at 3.

            That is for the substance of the receivership. As to the procedure of the receivership, it

   cannot shock the conscience to place a bank into receivership in an ex parte proceeding when no

   controlling judicial decision has ever held that a hearing in that situation is required. See America

   West at ¶ 43 (holding only that the Court cannot definitively say a hearing is never required).



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          AWBM argues their case is different because, “Commissioner Leary took possession while

   being driven by arbitrary and illegitimate motivations entirely unrelated to the health of the Bank

   while taking affirmative steps to ensure that the Bank would not survive.” Doc. 326 at 104. As

   discussed above (Section IV.A), they present no viable evidence of this improper motive, just

   strained speculation and innuendo. Neither do they cite any authority to show that, if valid grounds

   for receivership are present – an unsafe and unsound bank, critically undercapitalized, in violation

   of cease and desist orders, insolvent or about to become insolvent – that it is somehow immune

   from receivership if the Commissioner is prejudiced against AWBM’s business model. Such an

   argument would be absurd. Defendants are entitled to summary judgment on AWBM’s substantive

   due process claim as well.

      VII.    AWBM’S TAKINGS CLAIMS FAIL.

          As discussed in the Motion, takings claims are not viable in the highly-regulated context

   of financial institutions. AWBM seeks to distinguish this well-established law by arguing that their

   situation is an exception to the rule because they have also asserted due process claims – that the

   receivership was wrongful. Doc. 326 at 106. The caselaw refutes this argument. For example, in

   Golden Pacific, the Federal Circuit held, “Indeed, Golden Pacific’s expectations could only have

   been that the FDIC would exert control over the Bank's assets if the Comptroller became satisfied

   that the Bank was insolvent and chose to place it in receivership,” not “if the Comptroller became

   satisfied correctly.” See Golden Pacific Bancorp v. United States, 15 F.3d 1066, 1074 (Fed. Cir.

   1994). Similarly, in California Housing, “What neither Saratoga nor CHS could have expected

   was to be compensated for a regulatory possession by OTS and the RTC of its property if that

   possession were to occur following a determination that Saratoga's financial situation mandated

   federal conservatorship or receivership,” not a “correct determination.” California Housing

   Securities, Inc. v. United States, 959 F.2d 955, 959 (Fed. Cir. 1992).



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          In fact, the caselaw expressly contradicts AWBM’s position. “[A] mistake may give rise

   to a due process claim, but not a taking claim.” Golden Pacific, 15 F.3d at 1076 (emphasis added)

   (citing Tabb Lakes Ltd. v. United States, 10 F.3d 796, 803 (Fed.Cir.1993)). AWBM’s argument is

   neither new nor novel, and the courts have consistently rejected takings claims in this highly-

   regulated field even when the claimants had other viable claims that, like Plaintiff argues,

   hypothetically gave rise to reasonable investment expectations. See, e.g., Castle v. United States,

   301 F.3d 1328, 1342 (Fed. Cir. 2002) (dismissing takings claim while allowing contract claim);

   Home Savings v. United States, 51 Fed. Cl. 487, 496 (2002) (same).

          Branch, relied upon by AWBM, does not help their argument. See Doc. 326 at 106 (citing

   Branch v. United States, 69 F.3d 1571 (Fed. Cir. 1995)). To the extent Branch evaluated “the

   government action which precipitated the loss . . . to determine whether a taking occurred,” as

   AWBM argues, id., it was in the context that, “The seizure and closure of the bank, once the bank

   became insolvent, did not constitute a taking. It is well established that it is not a taking for the

   government to close an insolvent bank and appoint a receiver to take control of the bank’s assets.”

   Branch, 69 F.3d at 1575.

          Neither does Strawberry Electric help Plaintiff. See Doc. 326 at 107 (citing Strawberry

   Elec. Serv. Dist. v. Spanish Fork City, 918 P.2d 870 (Utah 1996)). Strawberry Electric is not a

   takings case. It concerns the application of a specific Utah statute – Utah Code § 10-2-424 –

   governing a situation where a municipality undertakes to provide electricity in an area already

   serviced by a utility. The court resorts to takings law to interpret and apply the statute. See

   Strawberry Electric, 918 P.2d at 878. It does not state a proposition for takings law, generally, and

   certainly not for the specific context of highly-regulated financial institutions.




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          On the question of physical takings, Plaintiff’s argument fails because they identify no

   physical taking. “The evidence here shows a physical taking, as Commissioner Leary actually took

   possession of the Bank. How else could he have transferred title to the FDIC to act as receiver of

   all the Bank’s assets without permanently invading the property?” Doc. 326 at 108-09 (emphasis

   added). The transfer of title is a reference to the intangible business of the Bank. As noted in the

   Motion, this is a regulatory taking, not a physical one. See Doc. 280 at 57-58. AWBM identifies

   no building, no desks, no computers, not even a pencil sharpener that was physically taken from

   them. It is the “business” AWBM contends was “taken,” and that is essentially a regulatory taking.

          In any case, the highly-regulated nature of Plaintiff’s business precludes any takings

   claims, whether or not AWBM had any other viable claims. Defendants are entitled to summary

   judgment on these claims.

                                            CONCLUSION

          For the foregoing reasons, Defendants respectfully request that the Court grant their Motion

   in its entirety and enter summary judgment in favor of Defendants and against AWBM on all

   remaining claims for relief.

                  DATED: September 7 , 2022

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